                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:13-00056
                                                   )      JUDGE CAMPBELL
PARRISH ROBERTS                                    )

                                           ORDER

      Due to an ongoing trial, the sentencing hearing in this case scheduled for March 31, 2014,

is RESCHEDULED for April 9, 2014, at 10:30 a.m.

      It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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